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Pro Se 15 (Rev. 12/ 16) Compla int for Violation of C ivil Rights (Non- Pri so ner)                                              FILED
                                                                                                                            I I 9 Pi tei t Cetflt
                                                                                                                            District of Kansas

                                           UNITED STATES DISTRICT COURT                                                   ~Ff> 0 5 2023
                                                                                  for the

                                                                         District of Kansas

                                                                    X_Civil_ _ Division
                                                                                                           2:23-cv-02385-JAR-TJJ
                   Maurice Bernard Moore                                              )     Case No.
                                                                                      )                   (to be filled in by the Clerk 's Office)
                                                                                      )
                              Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
                                                                                      )
If the names of all the plaintiffs cannot fit in th e space above,                    )     Jury Trial: (check one) ~Yes           0No
please write "see attached " in the space and attach an additional                    )
page with the full list of names.)                                                    )
                                    -v-                                               )
                                                                                      )
                             See Attached                                             )
                                                                                      )
                                                                                      )
                             Defendant(s)                                             )
(Write the full name of each defendant who is being sued. If the                      )
names of all the defendants cannot fit in the space above, please                     )
write "see attached" in th e space and attach an additional page
with the full list of names. Do not include addresses here.)



                                     COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                               (Non-Prisoner Complaint)


                                                                                NOTICE

    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files . Under this rule, papers filed with the court should not contain: an individual's full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




                                                                                                                                                     Page I of 6
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                       DEFENDANTS IN THIS CASE



1. Attorney Daniel L. Hebert
  Former Saline County District Judge
  Salina, Kansas


2. Attorney Julie McKena
  Former Saline County District Attorney
  Salina, Kansas


3. Attorney Ralph J. DeZago
  Former Kansas Public Defender
  Herington, Kansas
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Pro Se 15 (Rev. 12/ 16) Complaint for Violation of Civil Rights (Non- Prisoner)


I.         The Parties to This Complaint

           A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                            Name                                           Maurice B. Moore
                            Address                                       4938 Hampden Lane #576
                                                                            Bethesda,                      MD               20814
                                                                                        City              State             Zip Code
                            County                                         Montgomery County
                            Telephone Number                               (301) 523-6586
                            E-Mail Address                                  <blaine4017portage@yahoo.com>

           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (if known) and check whether you are bringing this complaint against
                      them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                      Defendant No. 1
                            Name                                          Attorney Daniel L. Hebert
                            Job or Title (if known)                       Formerly Saline County District Judge
                            Address                                        1127 Republic Circle
                                                                          Salina                           KS               67401
                                                                                        City              State             Zip Code
                            County                                        Saline
                            Telephone Number                               (785) 823-2713
                            E-Mail Address (if known)                      unknown

                                                                          D Individual capacity       ~ Official capacity

                      Defendant No. 2
                            Name                                          Attorney Julie McKenna
                            Job or Title (if known)                        Formerly Saline County District Attorney
                            Address                                        114 South 7th Street
                                                                           Salina                          KS               67401
                                                                                        City              State             Zip Code
                            County                                         Saline
                            Telephone Number                               (785) 829-4048
                            E-Mail Address (if known)

                                                                          D Individual capacity ~ Official capacity

                                                                                                                                       Page 2 of 6
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Pro Se 15 (Rev. 12/ 16) Complaint for Violation of Civil Rights (Non- Prisoner)


                      Defendant No. 3
                            Name                                          Attorney Ralph J . DeZago
                            Job or Title (if known)                       Formerly Kansas Public Defender
                            Address                                       1203 North D Street
                                                                          Herington                    KS             67449
                                                                                      City             State          Zip Code
                            County                                        Unknown
                            Telephone Number                              (785) 258-2322
                            E-Mail Address (if known)

                                                                          D Individual capacity ~ Official capacity
                      Defendant No. 4
                            Name
                            Job or Title (if known)
                            Address

                                                                                                                      Zip Code
                            County
                            Telephone Number
                            E-Mail Address (if known)

                                                                          D Individual capacity D Official capacity
II.        Basis for Jurisdiction

           Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
           immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
           Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
           constitutional rights.

           A.         Are you bringing suit against (check all that apply) :

                      D Federal officials (a Bivens claim)
                      ~ State or local officials (a§ 1983 claim)

           B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                      the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                      federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

                                                                SEE ATTACHED




           C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                      are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                      officials?

                                                                                                                                 Page 3 of 6
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                       BASIS for JURISDICTION

                             42 u.s.c. # 1983

                                 (continued)



1. DOUBLE JEOPARDY • Fifth Amendment to the U.S. Constitution

2. Conspiracy Against Rights - Title 18, Code 242

3. Mis prison of a Felony-Title 18, Code 4

4. Failure to Intervene - Section 42, Code 1983

5. Deprivation of a Federal Right - Section 42, Code 1983

6. Forced Labor (via abuse of law or legal process) - 18 U.S. Code 1589

7. Denial of Due Process & Equal Protection of Law - 14th Amendment

   to the United States Constitution
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Pro Se 15 (Rev. 12/ l 6) Complaint for Violation of Civil Rights (Non- Prisoner)




           D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                      statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                      42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                      of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                      federal law. Attach additional pages if needed.

                                                                 See Attached




III.      Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

         A.           Where did the events giving rise to your claim(s) occur?

                                                               Saline County District Court




         B.           What date and approximate time did the events giving rise to your claim(s) occur?

                                                              SEE ATTACHED




          C.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                      Was anyone else involved? Who else saw what happened?)




                                                             SEE ATTACHED




                                                                                                                         Page 4 of 6
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                      STATEMENT OF CLAIM
     Pursuant to a 60-1507 filed by Petitioner Maurice Moore, herein

to be referred to as "Moore," Petitioner's entire criminal case was

over-turned in Saline County District Court on November 08, 1996. In

the Order overturning the case the Appeals Court Judge admitted that

the Court had committed some serious ERRORS when attempting to

accept Moore's supposed "plea." The overturning Judge, Paul Miller,

noted that the record reflected the Moore never entered a guilty plea

in open court, on the record.

  On February 13, 1986 the Court, in ERROR, accepted the stipulated

facts (evidence) rendered by the Saline County District Attorney as

fully supporting the charges of aggravated battery on a LEO, and

possession of a firearm by a convicted felon as meeting state

requirements for those offenses. The record of February 13, 1986

clearly shows that at least four (4) required elements were missing for

the aggravated battery charge, and four (4) required elements were

missing from the firearms offense.

   On March 26, 1986 Saline County, in ERROR, sentenced Moore for

aggravated battery and felony weapons charges believing that he had

plead to those two (2) separate charges, when in essence the

evidence accepted by all parties and State on Feb. 13, 1986 only

supported the lesser included misdemeanor charges. Moore didn't

know anything about law at the time and stood in silence. Of note:

Moore only agreed in open Court ( continued on page 8 ).
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with the stipulated elements offered on February 13, 1986 by the State. In any
event, Moore was sent to prison for ten (10) years in ERROR.

  On November 08, 1996 Moore's entire case was overturned and Moore
thought that he was going home. But this was not the case.

  On December 12, 1996 Moore appeared before Judge Daniel Hebert,

who was well versed in law but told Moore that he would be going to a

second trial. Judge Hebert knew or should have known that the name

of an offense is not controlling, the elements are controlling. Judge

Hebert knew that once the State accepted the factual basis in 1986

for the lesser included charge of simple battery, Moore was

automatically ACQUITTED of the felony aggravated battery charge.

Judge Hebert knew, in 1997, that when the State accepted the lesser

included charges in 1986 for the felony firearms charge, that Moore

was automatically ACQUITTED of the more serious charge. In spite of

this, and in violation of Moore's Constitutional right to be free from

Double Jeopardy, Judge Hebert concealed this fact with the aid,

cooperation and silence of Saline County District Attorney Julie

McKena and Pubic Defender Ralph DeZago.            All stood silent while this

miscarriage of justice took place.

   On January 3, 1997 a full evidentiary preliminary hearing was held

in Saline County District Court where all named co-conspirators were

gathered and remained silent as this miscarriage of justice continued

to be played out as directed by then Judge Daniel Hebert. Saline

County District Attorney Julie McKena and Public Defender were both
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willing co-conspirators in this evil plot to violate Moore's rights to be

free from Double Jeopardy.

   On January 13, 1997 a hearing was held in front of Judge Daniel

Hebert, along with D.A Julie McKena and Public Defender Ralph

DeZago. At every Court appearance there was the opportunity for any

of the now named defendants to come forward and put a stop to the

insane injustice being dealt to an American citizen: deprivation of a

federal right, forced labor, denial of due process & equal protection of

the law, protection against double jeopardy guaranteed by the U.S.

Constitution. Apparently, racial hate runs deep between these three.

   On February 14, 1997, the Court heard Petitioner's motions with all

defendant's present. Their diabolical conspiracy continued and

remained intact - not one of the conspirators broke rank. They knew

that Moore didn't know a thing about law, and that they weren't about

to enlighten him. The now defendants never gave any consideration to

the fact that they had a duty to intervene on Moore's behalf when they

knew that he had been ACQUITTED in 1986 and that he should have

been released then, but certainly should not be forced to go to trial a

second time after having already served 6 months for simple battery,

the only charge that the evidence supported in 1986.

   On March 17, 1997, March 31, 1997, April 1 O, 1997, and April 22,

1997 various hearing where held before Judge Daniel L. Hebert. Like

present day former President Donald Trump, Judge Daniel Hebert

demanded and got loyalty from District Attorney Julie McKena and
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Public Defender Ralph DeZago. For more than eleven (11) years the

evil plot to deprive Moore of his constitutional rights worked, and with

their continued suppression and abuse of the legal process it was their

hope that Moore would continue to be denied his constitutional rights

and remain in prison and be a source of forced labor for the State.

Denial of Due Process & Equal Protection of the Law was all part of

the diabolical plan to deprive Moore of all his Federal Rights while

supplying the Kansas Prison system with forced labor.

   The conspiracy against Moore w ev1ioff as planned by Judge Daniel

L. Hebert. After Moore served 10 years for two misdemeanors, Judge

Hebert, District Attorney Julie McKena, and Public Defender

successful concealed the fact that Moore had been ACQUITTED of all

felony charges in 1986. Moore spent another nine (9) years in prison

after defendants in this case concealed the fact that Moore had been

ACQUITTED in 1986 when the stipulated factual basis only supported

the lesser included charges of battery and simple unlawful possession

of a firearm.

   Although Moore hired a number of attorneys after his case was

over-turned in 1996, none of them ever told him about the lesser

included offenses and their far reaching legal implications. It was not

until June of 2022 when a paralegal Moore hired discovered a Kansas

case revealing the fact regarding lesser included offenses.

Accordingly, the paralegal also reasoned that Moore had already done

six (6) months for the charges and that would also bar a second trial .
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                    Saline County District Attorney



   In 1997 exculpatory evidence was deliberately withheld by D.A.

Julie McKena that was material to proving acquittal. The Due Process

clause of the U.S. Constitution required her to disclose evidence

favorable to Moore. (1) evidence was favorable to Moore (2) the

evidence was suppressed by the State (3) prejudice ensued.

Suppression of evidence violated Moore's right to Due Process. In

Moore's case there was deliberate and intentional concealment and

non-compliance with law. Moreover, D.A. Julie McKena was a willing

participant in a conspiracy to deny Moore his U.S. Constitutional right

to be free from Double Jeopardy. Without the full cooperation of D.A.

Julie McKena,Judge Daniel Hebert's ploy could not succeed.

   Whenever a District Attorney knowingly and willingly becomes part

of a conspiracy to deny an American citizen his U.S. Constitutional

rights she automatically loses absolute Immunity. D.A. Julie McKena

knew that Moore had been ACQUITTED of all felony charges in 1986,

yet she "stood-down," turned her back to her sworn duties and did

absolutely nothing. Absolute Immunity was never intended to condone

criminal activity. Some civil violations of law are also criminal

violations. D.A. Julie McKena is just as guilty as Saline County District

Judge Daniel Hebert who knew he lacked jurisdiction in face of clearly

valid statutes and case law expressly depriving him of jurisdiction.

Both Kansas and Federal law holds that ACQUITTALS cannot be

appealed by the court, even in cases of 1 st Degree murder.
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                  PUBLIC DEFENDER RALPH DEZAGO

   Public Defenders acts under color of state law when engaged in a

conspiracy with State officials to deprive another of federal rights.

Ralph DeZago cannot claim to have any kind of immunity. Ralph

DeZago, like D.A. Julie McKena, stood by at every hearing remaining

silent about the continued violations of Moore's U.S. Constitutional

rights, especially when he, like D.A. Julie McKena, knew that Moore

had been acquitted on February 13, 1986 when the Stipulated Factual

Basis (evidence) presented in open court, on the record, only

supported the lesser included misdemeanor charges. Ralph DeZago

knew or should have known the under Kansas law whenever parties

agree to stipulated facts in court without a jury constitutes "hearing of

evidence" for the purposes of double jeopardy requirement and that

jeopardy attaches when the court begins to hear evidence.

Without Ralph DeZago's full cooperation and silence Judge Daniel

Hebert's diabolical plot to deny Moore is Constitutional Rights would

run aground. Public Defender Ralph DeZago and District Attorney Julie

McKena have remained silent now for more than 26 years even though

Moore is on unlawful parole and being oppressed and denied the rights

and benefits of being a free citizen, all guaranteed by the United

States Constitution.   A grave miscarriage of justice has taken place

involving the State of Kansas and Maurice Moore because of evil

intentions of hateful people.
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                       STATUTE OF LIMITATIONS




   The three (3) named defendants in this case, along with earlier un-

named conspirators, cleverly concealed and suppressed this massive

fraud and miscarriage of justice for more than 36 years. Accordingly,

Moore opted to use the "Discovery Option" that tolls the statute of

limitations in all cases involving fraud. Accordingly, the statute of

limitations does began until such time as the fraud is discovered. In

this case Moore did not uncover this evil, diabolical plot of

concealment, suppression and false pretenses until June, 2022.




                         ABSOLUTE IMMUNITY

   Judge Daniel Hebert knew by reading the 1986 transcripts in

Moore's case that there was insufficient evidence to support the

felony charges. Judge Hebert also knew that as soon as evidence was

offered and accepted by then Judge Gene Penland on the part of the

State, that jeopardy had attached. Most importantly, in 1997 Judge

Daniel Hebert knew, or should have known, that as soon as the 1986

District Court Judge accepted the flawed factual basis which only

supported the lesser simple battery charge and misdemeanor firearms

charge, that Moore was immediately acquitted of all felony charges.

The 1997 Court was deprived of all jurisdiction, and that this could not

be appealed.   Immunity does not cover illegal or unlawful actions

beyond a judge's jurisdiction, or, in absence of jurisdiction, and
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certainly does not cover criminal conspiracy and plots to deny a

citizen the guaranteed right to be free from Double Jeopardy. Judge

Daniel Hebert is liable for his unlawful actions and involvement in this

sinister plot that spanned decades. There were so many civil rights

violations that this case comes very close to being a RICO civil case

which carries years in federal prison. I will past on that option and

instead seek only fair compensation for all the lost years.

                   SPECIFIC DATES OF VIOLATIONS

Dec.12,1996                   March 17, 1997

Jan.OJ. 1997                   March 31, 1997

Jan. 13, 1997                 April 1 O, 1997

Feb.14,1997                   Apri I 22, 1997

The dates above were all days in Saline County District Court when

any of the three (3) defendants had the opportunity to speak up and

make it known that Moore had been Acquitted 10 years earlier and

should be immediately released. Here it is now, 26 years later, and

defendants have yet to speak up about the grave injustice and

miscarriage of justice that has taken place. Every day that the

defendants remain silent is an additional day of violating Moore's

Constitutional Rights and constraints of the Kansas Parole system.

Moore has now been on parole for more than 18 years.       Moore's rights

have been violated every day for the last 26 years by the defendants.
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IV. INJURIES

  General injuries include loss of liberty that includes 19 years of wrongful
imprisonment; 19 years of unlawful parole; 38 years of loss of employment
opportunities; lost of future earnings by virtue of being to old; injury to
reputation; continuous depression and emotional distress; cause of divorce;
and loss of family and friends.

  Defendants in this case have unlawfully and intentionally taken Moore's life
away. Every right and freedom guaranteed by the United States Constitutional
were taken away by these three (3) defendants who stood as one in a conspiracy
spanning decades. Even today they stand silent, thinking they have gotten
away with their dark crimes and deprivations.

V. RELIEF

1. Request this Federal Court read the February 13, 1986 transcript,

pages 5, 6 and 7 and rule on whether or not the stipulated factual

basis for aggravated battery against a law enforcement officer was

missing 3 or 4 essential elements when presented in open Court as

evidence on that day. (the same record seen by defendants)

2. Request this Federal Court read the February 13, 1986 transcript,

pages 5, 6, and 7 and rule on whether or not the stipulated factual

bases for unlawful possession of a firearm by a felon was missing 3 or

4 required elements for that offense on that day.

3. Request this Federal Court rule on whether or not the factual basis

elements submitted to the Court on February 13, 1986 for both felony

offenses only supported the lesser included offenses: both

misdemeanors.
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    V.   RELIEF (continued)

    4.   Request this Federal Court rule on whether Daniel L. Hebert, then

    Saline County District Judge; Julie McKena, then Saline County

    District Attorney; and Ralph J. DeZago, then Kansas Public Defender,

    can claim any type of immunity after engaging in intentional,

    deliberate, unlawful and illegal conduct to deprive Moore of his

    guaranteed Constitutional rights.

    5.   Request this Federal Court make a ruling as to whether or not

    Moore was Acquitted of all felony charges in February 1986 when

    Saline County District Court, in error, accepted the factual basis for

    both felony offenses and went on to sentence Moore, in error, for the

    felony offenses instead of the two (2) lesser included misdemeanors.

                                  FEDERAL JURY

    6.   Request a federal jury decide guilt or innocence of every offense

    charged.

    7.   Request a federal jury decide the amount of monetary damages to

    be awarded, including any possible punitive damages.




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(attach additional sheets, if necessary)

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Executed on   O25 --3 /- ~ .3
                               (Date)




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                                             Telephone Number



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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non- Prisoner)
                                                                                                                                  =


VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.           For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.




                      Signature of Plaintiff
                      Printed Name of Plaintiff


         B.           For Attorneys

                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                     Name of Law Firm
                      Address


                                                                                 City        State          Zip Code

                      Telephone Number
                      E-mail Address




                                                                                                                        Page 6 of 6
